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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                                Case No. 8:05-CR-199-T-30TBM

WILMER RIOS PEREZ
________________________________/

                                            ORDER

        THIS CAUSE came on to be considered upon Defendant's "Leave Proceed In Forma
Pauperis Motion to Request for Transcript" (Dkt. #106). The Defendant is requesting to
proceed in forma pauperis and for this Court to provide him, free of charge, a copy of the
sentencing transcript.
        A federal prisoner seeking to collaterally attack his conviction is not automatically
entitled to free transcripts. United States v. MacCollom, 426 U.S. 317, 325-326 (1976). To
be entitled to a transcript, the prisoner must show a particularized need. That is, he must
identify a non-frivolous issue for which the transcript is necessary. Here, the Defendant has
not identified such an issue.
        It is therefore ORDERED AND ADJUDGED that Defendant's "Leave Proceed In
Forma Pauperis Motion to Request for Transcript" (Dkt. #106) is DENIED without prejudice.
Once Defendant identifies a particularized need for such transcript, the issue will be
reconsidered by this Court.
        DONE and ORDERED in Tampa, Florida on November 30, 2006.




Copies furnished to:
Counsel/Parties of Record

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